                                  Case: 1:21-cv-04326 Document #: 2 Filed: 08/13/21 Page 1 of 2 PageID #:29
    JS 44 (Rev. 3/13)                                                           CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
    I. (a) PLAINTIFFS                                                                                            DEFENDANTS
        WALTER WALTZ                                                                                             NATIONAL CAR CURE, LLC and PELICAN INVESTMENT
                                                                                                                 HOLDINGS GROUP, LLC d/b/a AAP

        (b) County of Residence of First Listed Plaintiff             Cook County                                County of Residence of First Listed Defendant
                                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:                       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                             THE TRACT OF LAND INVOLVED.

        (c) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)

        Weiss Law Group, P.A., 5531 N. University Drive, Suite
        103, Coral Springs, FL 33067, tel: (954) 573-2800
    II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                         and One Box for Defendant)
     1    U.S. Government                  ✔ 3 Federal Question
                                                                                                                                    PTF           DEF                                        PTF      DEF
             Plaintiff                            (U.S. Government Not a Party)                        Citizen of This State          1            1    Incorporated or Principal Place       4      4
                                                                                                                                                            of Business In This State
     2    U.S. Government                   4 Diversity                                              Citizen of Another State           2         2   Incorporated and Principal Place       5       5
             Defendant                           (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State
                                                                                                       Citizen or Subject of a            3         3   Foreign Nation                         6       6
                                                                                                         Foreign Country
    IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
I              CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES               I
       110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY            625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
       120 Marine                           310 Airplane                  365 Personal Injury -           of Property 21 USC 881           423 Withdrawal                     400 State Reapportionment
       130 Miller Act                       315 Airplane Product               Product Liability      690 Other                                 28 USC 157                     410 Antitrust
       140 Negotiable Instrument                  Liability                367 Health Care/                                                                                     430 Banks and Banking
       150 Recovery of Overpayment          320 Assault, Libel &               Pharmaceutical                                                PROPERTY RIGHTS                    450 Commerce
            & Enforcement of Judgment              Slander                       Personal Injury                                              820 Copyrights                     460 Deportation
       151 Medicare Act                     330 Federal Employers’             Product Liability                                            830 Patent                         470 Racketeer Influenced and
       152 Recovery of Defaulted                  Liability                368 Asbestos Personal                                            840 Trademark                           Corrupt Organizations
            Student Loans                    340 Marine                         Injury Product                                                                                   480 Consumer Credit
            (Excludes Veterans)              345 Marine Product                 Liability                          LABOR                         SOCIAL SECURITY                 490 Cable/Sat TV
       153 Recovery of                            Liability                PERSONAL PROPERTY             710 Fair Labor Standards              861 HIA (1395ff)                850 Securities/Commodities/
            of Veteran’s Benefits            350 Motor Vehicle             370 Other Fraud                    Act                              862 Black Lung (923)                 Exchange
       160 Stockholders’ Suits              355 Motor Vehicle             371 Truth in Lending         720 Labor/Management                  863 DIWC/DIWW (405(g))          890 Other Statutory Actions
       190 Other Contract                        Product Liability         380 Other Personal                 Relations                        864 SSID Title XVI              891 Agricultural Acts
       195 Contract Product Liability       360 Other Personal                 Property Damage          740 Railway Labor Act                 865 RSI (405(g))                893 Environmental Matters
       196 Franchise                             Injury                    385 Property Damage          751 Family and Medical                                                 895 Freedom of Information
                                             362 Personal Injury -              Product Liability              Leave Act                                                              Act
                                                  Medical Malpractice                                     790 Other Labor Litigation                                             896 Arbitration
I           REAL PROPERTY                       CIVIL RIGHTS               PRISONER PETITIONS             791 Employee Retirement             FEDERAL TAX SUITS                  899 Administrative Procedure
       210 Land Condemnation                440 Other Civil Rights        510 Motions to Vacate             Income Security Act            870 Taxes (U.S. Plaintiff               Act/Review or Appeal of
       220 Foreclosure                      441 Voting                         Sentence                                                           or Defendant)                      Agency Decision
       230 Rent Lease & Ejectment           442 Employment                 Habeas Corpus:                                                   871 IRS—Third Party                950 Constitutionality of
       240 Torts to Land                    443 Housing/                  530 General                                                            26 USC 7609                        State Statutes
       245 Tort Product Liability                Accommodations            535 Death Penalty
       290 All Other Real Property          445 Amer. w/Disabilities      540 Mandamus & Other            IMMIGRATION
                                                  Employment                550 Civil Rights           462 Naturalization Application
                                             446 Amer. w/Disabilities      555 Prison Condition       463 Habeas Corpus -
                                                  Other                     560 Civil Detainee -            Alien Detainee
                                             448 Education                      Conditions of               (Prisoner Petition)
                                                                                 Confinement            465 Other Immigration
                                                                                                             Actions
    V. ORIGIN (Place an “X” in One Box Only)
     1 Original             
                             ✔ 2 Removed from                   3   Remanded from                4   Reinstated or             5   Transferred from        6   Multidistrict
        Proceeding               State Court                         Appellate Court                   Reopened                       Another District             Litigation
                                                                                                                                      (specify)

    VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are filing and                       VII. Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case
                                                                                                       number and judge for any associated bankruptcy matter previously adjudicated by a judge of this Court.
    write a brief statement of cause.)
                                                                                                       Use a separate attachment if necessary.
    Telephone Consumer Protection Act, 47 U.S.C. §227
    VIII. REQUESTED IN  CHECK IF THIS IS A CLASS ACTION                                                   DEMAND $                                     CHECK YES only if demanded in complaint:
         COMPLAINT:                   UNDER RULE 23, F.R.Cv.P.                                                                                          JURY DEMAND:          Yes     ✔ No

    IX. RELATED CASE(S)
          IF ANY                    (See instructions):
                                                              JUDGE                                                                               DOCKET NUMBER
    X. This case (check one box) 
                                 ✔ Is not a refiling of a previously dismissed action                       is a refiling of case number ____________ previously dismissed by Judge ________________

    DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
             8/13/2021                                                                                                     /s/ Jason S. Weiss
                          Case: INSTRUCTIONS
                                1:21-cv-04326  Document
                                             FOR ATTORNEYS#: 2 Filed: 08/13/21
                                                           COMPLETING          Page
                                                                       CIVIL COVER   2 ofFORM
                                                                                   SHEET  2 PageID
                                                                                              JS 44 #:30
                                                                       Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. The attorney
filing a case should complete the form as follows:

I.        (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only the
full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving both
name and title.

            (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time of
filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases, the
county of residence of the "defendant" is the location of the tract of land involved.)

           (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting in this
section "(see attachment)".

II.         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X" in one of
the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the Constitution,
an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box 1 or 2 should be
marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity cases.)

III.      Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section for
each principal party.

IV.         Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select the
most definitive.

V.          Origin. Place an "X" in one of the six boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition for
removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict litigation
transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box is
checked, do not check (5) above.

VI.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.      Previous Bankruptcy Matters For nature of suit 422 and 423 enter the case number and judge for any associated bankruptcy matter previously adjudicated
by a judge of this court. Use a separate attachment if necessary.

VIII.      Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P. Demand. In this space enter the
actual dollar amount being demanded or indicate other demand, such as a preliminary injunction Jury Demand. Check the appropriate box to indicate whether or not a
jury is being demanded.

 IX.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket numbers and the
corresponding judge names for such cases.

X.        Refiling Information. Place an "X" in one of the two boxes indicating if the case is or is not a refilling of a previously dismissed action. If it is a refiling of a
previously dismissed action, insert the case number and judge.

            Date and Attorney Signature. Date and sign the civil cover sheet.

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